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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

ROBERT JULIAN-BORCHAK WILLIAMS,

                  Plaintiff,                   Case No. 21-cv-10827

v.                                             Hon. Laurie J. Michelson

CITY OF DETROIT, a municipal corporation,      PLAINTIFF’S MOTION
DETROIT POLICE CHIEF JAMES WHITE,              FOR SANCTIONS FOR
in his official capacity, and DETECTIVE        SPOLIATION OF
DONALD BUSSA, in his individual capacity,      RECORDS

               Defendants.
______________________________________/

Michael J. Steinberg (P43085)                  Philip Mayor (P81691)
Ben Mordechai-Strongin*                        Daniel S. Korobkin (P72842)
Julia Kahn*                                    Ramis J. Wadood (P85791)
Brendan Jackson*                               American Civil Liberties
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                   PLAINTIFF’S MOTION FOR SANCTIONS

       Pursuant to Rules 37(e)(1) and 37(b)(2)(C) of the Federal Rules of Civil

Procedure, Plaintiff Robert Julian-Borchak Williams respectfully moves this Court

for sanctions against Defendants for failing to preserve relevant litigation records—

namely, Defendant Donald Bussa’s call logs and then-Captain Cox’s text messages.

Despite this Court ordering Defendants to provide an explanation for their

destruction of these litigation records, Defendants have refused to do so. For the

reasons set forth in the attached brief, this Court should impose appropriate

evidentiary sanctions against Defendants to remedy their obstruction and award

Plaintiff attorneys’ fees for all time spent litigating this issue.

       Pursuant to Local Rule 7.1(a), counsel for Plaintiff sought concurrence in this

motion via email on May 2, 2023, and conferred with counsel for Defendants via

phone regarding the relief sought on May 12, 2023, but did not obtain concurrence.

                                                 Respectfully submitted,

/s/ Michael J. Steinberg
Michael J. Steinberg (P43085)                           Philip Mayor (P81691)
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Dated: June 16, 2023




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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

ROBERT JULIAN-BORCHAK WILLIAMS,

                   Plaintiff,                  Case No. 21-cv-10827

v.                                             Hon. Laurie J. Michelson

CITY OF DETROIT, a municipal corporation,      PLAINTIFF’S BRIEF IN
DETROIT POLICE CHIEF JAMES WHITE,              SUPPORT OF MOTION
in his official capacity, and DETECTIVE        FOR SANCTIONS FOR
DONALD BUSSA, in his individual capacity,      SPOLIATION OF
                                               RECORDS
               Defendants.
______________________________________/

Michael J. Steinberg (P43085)                  Philip Mayor (P81691)
Ben Mordechai-Strongin*                        Daniel S. Korobkin (P72842)
Julia Kahn*                                    Ramis J. Wadood (P85791)
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                   STATEMENT OF ISSUES PRESENTED

Whether Defendants failed to preserve relevant litigation records, such as text
messages and call logs, in violation of Fed. R. Civ. P. 37(e).

      Plaintiff’s answer: Yes.

Whether Plaintiff was prejudiced by Defendants failure to preserve those call logs
and text messages.

      Plaintiff’s answer: Yes.

Whether Plaintiff is entitled to evidentiary sanctions that establish the spoliated
text messages and call logs were unfavorable to Defendants and to attorneys’ fees.

      Plaintiff’s answer: Yes.




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                                 INTRODUCTION

      After nearly two years of protracted discovery, Plaintiff learned that

Defendants improperly destroyed discoverable material in violation of Federal Rule

of Civil Procedure 37(e). Plaintiff sought an explanation for that destruction two

months ago, immediately upon learning that the records were destroyed. And when

no explanation was provided, this Court ordered Defendants to provide one. Yet,

Defendants have still refused to even respond to Plaintiff’s communications about

this issue, let alone explain why that material—namely, (1) the call logs for

Defendant Donald Bussa’s work and personal cell phones and (2) text messages

between then-Captain Rodney Cox and various Detroit Police Department officials

regarding the fallout of Mr. Williams’ false arrest and apportionment of blame

within the Department—was destroyed. These records are clearly responsive to

Plaintiff’s discovery requests, and are both relevant and important to Plaintiff’s case.

Plaintiff is prejudiced by Defendants’ spoliation of them. In order to cure that

prejudice and sanction Defendants for their failure to obey this court’s order to

explain the spoliation, the court should make appropriate factual findings and award

expenses and attorneys’ fees. Fed. R. Civ. P. 37(e)(1) (court should order measures

“necessary to cure the prejudice” caused by spoliation of electronically stored

records); Fed. R. Civ. P. 37(b)(2)(C) (providing for award of reasonable expenses,

including attorneys’ fees, when a party fails to obey a discovery order).
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                           FACTUAL BACKGROUND

      Discovery in this case has been ongoing since August 2021. See Scheduling

Order, ECF No. 14, PageID.208. After a series of extensions—which were mostly

to provide Defendants with additional time to satisfy Plaintiff’s discovery requests,

the bulk of which were served in October 2021—fact discovery only recently closed.

See Stipulated Order to Amend Scheduling Order, ECF No. 41, PageID.726. While

fact discovery has largely been completed, Defendants have failed to adequately

respond to several discovery requests, even after ample opportunity and in

contravention of this Court’s orders.

      Relevant here, on January 11, 2023, Plaintiff requested several records from

Defendants, the existence of which had only recently been revealed during

depositions. See Ex. A, Plaintiff’s Third Request for Production to Defendants.

Among the requested records were (1) call logs for Defendant Donald Bussa’s work

and personal cell phones and (2) text messages between then-Captain Rodney Cox

and various Detroit Police Department (DPD) officials, such as then-Chief James

Craig, about the facts underlying this case (e.g., the Shinola investigation, the

subsequent internal affairs investigation DPD conducted, and its consequences,

including Cox’s de-appointment and discipline). After a series of delays that resulted

in this Court ordering Defendants to promptly satisfy the requests at a March 3 status

conference, Defendants informed Plaintiff on April 12, 2023, that Defendants were

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 no longer in possession of these call logs and text messages “due to the passage of

 time.” See Ex. B at 4–5, Defendants’ Combined Supplemental Response to

 Plaintiff’s Requests for Production to Defendants.

       At a subsequent status conference on April 13, 2023, Plaintiff’s counsel

 requested that Defendants explain why those relevant records were destroyed while

 litigation was anticipated or pending. Defendants’ counsel did not have an answer,

 and this Court ordered Defendants to provide an answer by May 15, 2023. That

 deadline came and passed without an answer. Despite following up multiple times

 via email and phone and offering Defendants additional time to comply, Plaintiff

 still has not received an explanation (or even a response) from Defendants’ regarding

 the destruction of call logs and text messages that directly relate to this litigation.

       These records are important to Plaintiff’s case. In his deposition, Detective

 Bussa asserted that he called the Wayne County Prosecutor’s Office, and spoke with

 a prosecutor whose identity he could not remember, to seek advice on whether a

 photo lineup conducted with a security consultant (who was not an eye-witness to

 the alleged crime) could be sufficient to establish probable cause. Ex. C, Bussa Dep.

 186:5–15, 189:17–192:3. However, Bussa’s case notes contain no notation of such

 a call, even though his notes document other calls he made to other individuals in

 the course of his investigation. See generally Ex. D, Case Tracking Document for

 Investigation No. 1810050167. His call logs could confirm whether or not he

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 actually made that call, which is relevant to Bussa’s apparent defense that he acted

 on the advice of a prosecutor.1

        The text messages between then-Captain Cox and other DPD officials likely

 discuss his failure to properly train and supervise Detective Bussa, and thus could

 support Plaintiff’s Monell claims concerning deficient supervision, training, and

 oversight.


                                APPLICABLE LAW

        Federal Rule of Civil Procedure 37(e) and the common law require litigation

 parties to preserve relevant records “in the anticipation or conduct of litigation.” A

 party’s duty to preserve relevant records arises as early as “when a party should have

 known that the evidence may be relevant to future litigation.” Beaven v. U.S. Dep’t

 of Justice, 622 F.3d 540, 553 (6th Cir. 2010) (citation omitted).

        Sanctions for discovery violations are governed by Fed. R. Civ. P. 37, the

 relevant parts of which read as follows:

     (b)(2)(A): If a party or a party’s officer, director, or managing agent—or a
     witness designated under Rule 30(b)(6) or 31(a)(4)—fails to obey an order to


 1
   Detective Bussa further testified that he could not recall whether he actually
 mentioned to the prosecutor that the security official was not, in fact, an eyewitness
 to the Shinola theft. Ex. C, Bussa Dep. 190:13–24. Thus, the content of the alleged
 call may be at issue even if the call occurred. But call logs could well disprove that
 the call even occurred in the first place, which would be fatal to one of Detective
 Bussa’s apparent defenses.

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    provide or permit discovery, including an order under Rule 26(f), 35, or 37(a),
    the court where the action is pending may issue further just orders. . . .

    (b)(2)(C): Instead of or in addition to the orders above, the court must order the
    disobedient party, the attorney advising that party, or both to pay the reasonable
    expenses, including attorney’s fees, caused by the failure, unless the failure was
    substantially justified or other circumstances make an award of expenses unjust.
    ...

    (e): If electronically stored information that should have been preserved in the
    anticipation or conduct of litigation is lost because a party failed to take
    reasonable steps to preserve it, and it cannot be restored or replaced through
    additional discovery, the court: (1) upon finding prejudice to another party from
    loss of the information, may order measures no greater than necessary to cure the
    prejudice . . . .

       In addition, a district court may exercise its civil contempt power to compel a

 litigant to comply with a court order and to compensate the opposing party for costs

 associated with that litigant’s contemptuous conduct. Consolidated Rail Corp. v.

 Yashinsky, 170 F.3d 591, 595 n. 5 (6th Cir.1999). See also Scioto Const., Inc. v.

 Morris, No. 4:99-CV-83, 2007 WL 1656222, at *3-4 (E.D. Tenn. June 7, 2007)

 (collecting cases).

       Therefore, should this Court determine that Defendants have failed to preserve

 relevant litigation records and to comply with this Court’s order to explain the

 records’ destruction, Defendants may be subject to penalties under Rule

 37(b)(2)(A)–(C) and 37(e)(1) and may be held in contempt of court.




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                                    ARGUMENT

 I.    Defendants’ Spoliation of Relevant Litigation Records Is Sanctionable.

       By failing to preserve Defendant Bussa’s relevant call logs and then-Captain

 Cox’s relevant text messages, Defendants violated their fundamental duty to

 preserve relevant litigation records in accordance with Fed. R. Civ. P. 37(e). That

 spoliation has caused prejudice to Plaintiff, who is now unable to use these records

 to support his arguments regarding Defendant Donald Bussa’s individual liability

 and Defendant City of Detroit’s Monell liability. Because Defendants’ improper

 spoliation has prejudiced Plaintiff, this Court should order whatever sanctions it

 deems necessary to cure that prejudice.

       A.   Defendants improperly spoliated relevant litigation records.

       By claiming that they no longer possess Defendant Bussa’s call logs and then-

 Captain Cox’s text messages due to the “passage of time,” Defendants have all but

 admitted that they improperly spoliated relevant litigation records. Courts in the

 Eastern District of Michigan follow a three-pronged test for determining whether a

 litigation party has improperly spoliated records:

       (1) electronically stored information that should have been preserved
       ‘in the anticipation or conduct of litigation’ was lost; (2) the party who
       had a duty to preserve the information ‘failed to take reasonable steps
       to preserve’ it; and (3) the information ‘cannot be restored or replaced
       through additional discovery.’



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 Adamczyk v. Sch. Dist. of City of Hamtramck Pub. Sch., No. 2:20-CV-12450, 2023

 WL 2733385, at *13 (E.D. Mich. Mar. 31, 2023) (quoting Prudential Def. Sols., Inc.

 v. Graham, No. 20-11785, 2021 WL 4810498, at *5 (E.D. Mich. Oct. 15, 2021)).

 Here, Defendants’ spoliation fulfills all three prongs of this test.

       First, there is no dispute that the requested call logs and text messages were

 lost. Defendants themselves admit that they no longer possess them. See Ex. B at 4–

 5. And Defendants certainly had a duty to preserve those call logs and text messages

 in the first place. A party’s duty to preserve relevant records arises as early as “when

 a party should have known that the evidence may be relevant to future litigation.”

 Beaven, 622 F.3d at 553 (citation omitted). Here, Defendants should have known

 that litigation was imminent as early as January 23, 2020, when the Wayne County

 Prosecutor’s Office dismissed all charges against Plaintiff (which itself was nearly

 two weeks after it was clear to DPD detectives that Plaintiff was not the right

 suspect). But at the very least, Defendants have been on actual notice of potential

 litigation since June 24, 2020, when Plaintiff filed a police complaint regarding his

 unlawful arrest. See Ex. E, Letter from Phil Mayor, Senior Staff Attorney, ACLU of

 Michigan, to Office of Chief Investigator (Jun. 24, 2020). Indeed, just two weeks

 later, then-Corporation Counsel for the City of Detroit Lawrence Garcia stated

 publicly that “We do anticipate a lawsuit… [and] we would be conceding liability.”




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 See Ex. F, Lawrence Garcia, Remarks at the Meeting of the Board of Police

 Commissioners 68:19 – 69:2 (July 9, 2020).

       As to the spoliated call logs, Defendant Bussa claimed at his deposition that

 he called the Wayne County Prosecutor’s Office during the week of July 23, 2019,

 even though he could not recall with whom he spoke and even though he made no

 contemporaneous notes about the call or its substance. See Ex. C, Bussa Dep.

 186:12–15, 189:17–192:3. Defendants have already suggested that they will rely on

 the substance of this supposed call as part of their defense. Call logs would not

 demonstrate the content of any supposed call, but they would at least indicate

 whether such a call even occurred.

       These call logs should have been preserved. The alleged call occurred less

 than a year before the City of Detroit was on actual notice of impending litigation,

 and the Detroit Police Department has a data retention policy that requires all

 department records to be retained for a period of time specified in the policy. See

 Ex. G, DPD Manual Directive 101.11. While the data retention policy does not

 explicitly mention call log records, most categories of records are retained for

 periods measured in years, not months or days. Correspondence, for example, must

 be retained for two years. In fact, nearly all of the record types that carry a retention

 period of less than one year are audio or video recordings. In short, Defendants




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 should still have had possession of the spoliated call logs as of June 24, 2020—less

 than a year after the alleged call was made.

       As to the spoliated text messages, deposition testimony from then-Captain

 Cox suggests that the messages, which concerned his impending de-appointment,

 were exchanged in November 2020, a few months after the City of Detroit

 recognized they anticipated litigation regarding Plaintiff’s false arrest. See Ex. H,

 Cox Dep. at 155:16–156:14; Ex. I, Letter from James Craig, Chief, Detroit Police

 Department, to Rodney Cox, Captain, Detroit Police Department (Nov. 10, 2020).

 Cox’s de-appointment unquestionably concerned, at least in part, his failure to

 supervise Detective Bussa in the investigation underlying this case, see Ex. J, Craig

 Dep. 88:4–13, 102:22–103:5 (testifying that Cox’s failure to supervise Detective

 Bussa’s Shinola investigation was a factor in Cox’s de-appointment); Ex. H, Cox

 Dep. at 148:19–150:10, 154:7–156:9, and communications about that failure are

 obviously relevant to this litigation. Defendants had a duty to preserve those text

 messages in anticipation of litigation but failed to do so.

       On the second prong of the spoliation test, Defendants have given no

 indication that they took reasonable steps to preserve the call logs and text messages.

 In fact, their only explanation for their improper spoliation points to the contrary:

 Defendants claim they no longer possess the call logs and text messages “due to the




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 passage of time,” suggesting that no steps at all were taken to prevent routine or

 inadvertent deletion of relevant litigation records.

       Finally, as to the third prong, Defendants have not shown that any attempt has

 been made to restore the spoliated call logs and text messages, or that such a

 restoration is even possible. Plaintiff would gladly withdraw his motion if Defendant

 restores and produces the requested records. Otherwise, the call logs and text

 messages cannot be replaced: Plaintiff can think of no other record available via

 discovery that would contain documentation of Defendant Bussa’s call to the Wayne

 County Prosecutor’s Office, or that would reveal relevant text conversations

 between then-Captain Cox and other DPD officials such as then-Chief Craig.

       In sum, at the time Defendants were on notice of anticipated litigation, they

 were in possession of the spoliated call logs and text messages and had a duty to

 preserve them. They failed to take any reasonable steps to preserve those records,

 and instead let those records be destroyed “due to the passage of time.” Because of

 the nature and uniqueness of the records, it appears they cannot be restored or

 replaced. Therefore, this Court should impose appropriate sanctions to make up for

 the irreversible spoliation of these relevant litigation records.

       B. Defendants’ improper spoliation prejudiced Plaintiff.

       Further motivating the need for sanctions is the extent of prejudice Plaintiff

 has faced due to Defendants’ improper spoliation. Once a litigation party satisfies

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 all three prongs of the above test, courts next determine whether the improper

 spoliation prejudiced the opposing party. 2 See Adamczyk, 2023 WL 2733385 at *13.

 In the context of spoliation, courts have understood prejudice to simply be a loss of

 records that “could negatively impact a party’s ability to make its case.” Prudential

 Def. Sols., Inc.,2021 WL 4810498, at *8 (cleaned up). In Adamczyk, for example,

 the mere possibility that “there might have been information relevant to the present

 litigation” in deleted text messages was enough to establish prejudice. 2023 WL

 2733385 at *15. See also Courser v. Michigan House of Representatives, 831 F.

 App’x 161, 187-88 (6th Cir. 2020) (“the information’s importance in the litigation”

 can also be a consideration). The spoliated call logs and text messages are

 undoubtedly relevant and important in this case. As to the call logs, multiple

 deposition witnesses testified that they believe Defendant Bussa is not solely

 responsible for utilizing a non-eyewitness in a lineup because he allegedly sought

 and received advice from an unnamed member of the Wayne County Prosecutor’s

 Office about his investigation. See Ex. H, Cox Dep. 101:16–103:5; Ex. K,

 Chadwick-Bills Dep. 79:18–22. Defendant Bussa himself testified that he called the



 2
   Fed R. Civ. P. 37(e)(2) provides for specified sanctions when the spoliating party
 intentionally deprives the opposing party of the requested information. However,
 Plaintiff here is proceeding under (e)(1), which only requires a showing of
 prejudice—not intentionality. See Prudential Def. Sols., , 2021 WL 4810498, at *5-
 7 (noting the two separate paths to liability for spoliation “[d]epending on a finding
 of an intentional deprivation of evidence”).
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 prosecutor’s office to seek that advice. See Ex. C, Bussa Dep. 186:13–15. However,

 to date, there has been no documented proof that Defendant Bussa made such a call.

 The activity log that Bussa maintained in the Shinola investigation does not indicate

 that any call was made to the prosecutor’s office, despite that log including multiple

 entries for other calls and meetings Defendant Bussa had with external parties. See

 Ex. D, Case Tracking Document for Investigation No. 1810050167. The only

 possible confirmation of Defendant Bussa’s self-serving testimony that he made

 such a call would be the spoliated call logs.3

       As to the spoliated text messages, then-Captain Cox and then-Chief Craig

 both testified that Cox’s inadequate supervision of Defendant Bussa during his

 investigation into the Shinola theft was a factor in his de-appointment. See Ex. H,

 Cox Dep. 31:18–25, 140:1–17; Ex. J, Craig Dep. 88:7–13. Cox testified that he

 exchanged text messages with Craig and other officials concerning his de-

 appointment. See Ex. H, Cox Dep. 155:25–156:9. The text messages Cox exchanged

 with Craig and other officials likely elaborate upon the deficiencies Craig saw in

 Cox’s and the department’s supervision of detectives and would likely reveal who

 the department felt should be blamed for Plaintiff’s false arrest. The content of these



 3
  It is unclear whether Defendant Bussa made the alleged call on a department phone
 or on his personal cell phone. Plaintiff's discovery requests encompassed both
 devices and both the DPD and Defendant Bussa in his personal capacity are sued
 here and were under an obligation to preserve relevant records.
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 texts relate directly to Plaintiff’s Monell claim. And more generally, text messages

 between Cox and department officials such as Craig likely discuss how department

 personnel handled the Shinola investigation and how department leadership chose

 to respond to its aftermath and the resulting publicity (e.g., by quietly de-appointing

 or transferring personnel)—information that is directly relevant to Plaintiff’s case.

       Together, the loss of call logs and text messages leaves noticeable holes in

 Plaintiff’s ability to construct a cohesive narrative of the investigation that led to

 Plaintiff’s wrongful arrest and DPD’s subsequent actions. That outcome should

 easily satisfy any inquiry into prejudice. And at this stage, sanctions are the only

 appropriate tools remaining to cure that prejudice.

 II.   Evidentiary and Monetary Sanctions are Appropriate for Defendants’
       Misconduct.

       Once the Court determines that Defendants have engaged in sanctionable

 conduct in violating Fed. R. Civ. P. 37(e), it must determine what sanctions are

 appropriate. Fed. R. Civ. P. 37(e)(1) does not specify the type of sanction that should

 be imposed here, leaving this Court with “broad discretion” in crafting spoliation

 sanctions under Rule 37(e)(1). Beaven, 622 F.3d at 553. Given this discretion and

 the nature of Defendants’ conduct, the most appropriate sanction would be

 evidentiary in nature—namely, an order directing that the content of the spoliated

 material be taken as established in Plaintiff’s favor. See infra (describing requested

 evidentiary sanctions). See also Fed. R. Civ. P. 37(b)(2)(A)(i).
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         The Sixth Circuit employs a four-part test to determine whether sanctions are

 appropriate:

         The first factor is whether the party’s failure to cooperate in discovery
         is due to willfulness, bad faith, or fault; the second factor is whether the
         adversary was prejudiced by the party’s failure to cooperate in
         discovery; the third factor is whether the party was warned that failure
         to cooperate could lead to the sanction; and the fourth factor in regard
         to a dismissal is whether less drastic sanctions were first imposed or
         considered.

 Doe v. Lexington-Fayette Urb. Cnty. Gov’t, 407 F.3d 755, 766 (6th Cir. 2005).

 Because Plaintiff is not seeking dismissal, the fourth part of the test is not relevant

 here.

         As to the first prong, Defendants are—at the very least—at fault for the

 spoliation of evidence. They had actual notice of impending litigation since at least

 June 2020 and should have acted responsibly to preserve Detective Bussa’s call logs

 and then-Captain Cox’s text messages. Whether this failure to preserve evidence

 demonstrates willfulness or bad faith is not particularly relevant, since the burden of

 proof is on the sanctioned party to establish that its “failure to comply was due to

 inability, not willfulness or bad faith.” United States v. Reyes, 307 F.3d 451, 458

 (6th Cir. 2002).

         For the second prong, Plaintiff has already established the prejudice created

 by the spoliated evidence above. Supra Part I.B. The missing call logs and text

 messages leave Plaintiff unable to complete a cohesive narrative of the events

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 leading up to this case and deprive Plaintiff of the ability to verify important details

 of Detective Bussa’s claims.

       Finally, as to the third prong, Defendants have been “warned that failure to

 cooperate could lead to the sanction.” Lexington-Fayette Urb. Cnty. Gov’t, 407 F.3d

 at 766. This Court ordered Defendants at an April 13, 2023, status conference to

 explain why it destroyed call logs and text messages by May 15, 2023. This Court

 stated then that no pre-motion conference would be necessary for any subsequent

 motion for sanctions. Still, after that status conference, Plaintiff reminded

 Defendants of their obligation via email and emphasized that, if Defendants refuse

 to comply, Plaintiff would be forced to seek sanctions. (Defendants did not respond

 to that email). Ex. L, E-mail from Ramis Wadood, Skadden Fellow, ACLU of

 Michigan, to Patrick Cunningham, Asst. Corporation Counsel, City of Detroit Law

 Dep’t, (May 2, 2023, 1:00 EDT). Defendants thus had ample notice of their duty to

 fulfill this Court’s orders but refused to do so within the generous time period this

 Court imposed, or even in the additional time since the close of fact discovery

 offered as a courtesy by Plaintiff.

       Evidentiary sanctions are generally avoided where the primary harm from the

 sanctioned conduct is monetary or where the parties are able to resolve their dispute

 without court intervention. EMW Women’s Surgical Ctr., P.S.C. v. Glisson, No.

 3:17-cv-00189, 2017 WL 4897528, at *5 (W.D. Ky. Oct. 30, 2017). But that is not

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 the case with Defendants’ irreparable misconduct here, which is primarily

 evidentiary in nature.

       Accordingly, pursuant to Fed. R. Civ. P. 37(e)(1), this Court should exercise

 its discretion to order that the following facts be taken as established:

       1. Fact to be taken as established: Defendant Donald Bussa did not call the
          Wayne County Prosecutor’s Office in July 2019 to seek advice from a
          prosecutor on whether he could use Katherine Johnston as a witness in a
          photographic lineup

           Basis for fact: Ex. D, Case Tracking Document for Investigation No.
           1810050167(not mentioning any call to the Wayne County Prosecutor’s
           Office despite documenting other external calls and meetings).

       2. Fact to be taken as established: Then-Captain Cox was de-appointed
          from his rank of Captain because of his failure to properly supervise and
          train Donald Bussa in his investigation into the October 2018 theft of
          watches from a Shinola store in midtown Detroit.

           Basis for fact: Ex. H, Cox Dep. 31:18–32:23 (testifying that the “incident
           concerning the Shinola case” was the reason for his de-appointment),
           140:8–17 (testifying that Cox understood his de-appointment to be a
           disciplinary action in response to the Shinola investigation); Ex. J, Craig
           Dep. 88:4–13, 102:22–103:5 (testifying that Cox’s failure to supervise
           Detective Bussa’s Shinola investigation was a factor in his de-
           appointment).

       3. Fact to be taken as established: Then-Chief James Craig considered
          then-Captain Cox’s supervision and training of Detective Bussa to be
          inadequate because it facilitated the deficiencies in Bussa’s investigation
          into the October 2018 Shinola watch thefts—namely his failure to disclose
          important exculpatory information to the magistrate and his use of a non-
          eyewitness in a lineup—that Craig considered to be “sloppy” detective
          work.

           Basis for fact: Ex. F, Transcript of July 9, 2020, Board of Police
           Commissioners Meeting 55:20–56:4 (Chief Craig calling the Shinola
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           investigation “clearly sloppy, sloppy investigative work”), 57:1–58:10
           (Chief Craig identifying issues in the investigation, including the use of a
           non-eyewitness); Ex. M, Chief James Craig’s July 9, 2020, Presentation to
           the Board of Police Commissioners, slides 4, 10 (identifying the fact that
           Bussa used a non-eyewitness and concluding that “this investigation was
           not up to Department standards”).

       In addition to ordering that these facts be taken as established for purposes of

 this case, this Court should also bar Defendants from introducing matters in evidence

 that contradict these established facts. See, e.g., Lasko v. Mobile Hyperbaric Centers,

 LLC, No. 1:19-cv-542, 2021 WL 733768 at *11 (N.D. Ohio Feb. 25, 2021). Cf. Fed.

 R. Civ. P. 37(b)(2)(A)(ii).

       Finally, in this Court’s discretion under Fed. R. Civ. P. 37(e)(1), and as

 required by Rule 37(b)(2)(C), Plaintiff should also be awarded monetary sanctions

 for the attorney fees and costs associated with encouraging Defendants to comply

 with this Court’s orders and with filing this motion. Rule 37(b)(2)(C), which

 requires the Court to order the disobedient party to pay expenses, including

 attorneys’ fees, applies because Defendants “fail[ed] to obey an order to provide or

 permit discovery,” Fed. R. Civ. P. 37(b)(2)(A)—namely, the order at the April 13,

 2023 status conference directing Defendants to explain their spoliation of records.

       Without these sanctions, Plaintiff will be prejudiced in this suit, and

 Defendants will be uninhibited from repeating their obstructionist conduct in future

 lawsuits seeking to hold the Detroit Police Department accountable for violating an

 individual’s constitutional rights.
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                                  CONCLUSION

       Plaintiff, and this Court, have given Defendants every opportunity to explain

 their improper spoliation of call logs and text messages. But, nearly two years after

 fact discovery began, it has become clear that the time for extending Defendants the

 benefit of the doubt is at an end. Eager to move this case forward, Plaintiff Robert

 Williams respectfully moves this Court to impose the evidentiary and monetary

 sanctions detailed above, as well as any other sanctions the Court deems just, on

 Defendants pursuant to Fed. R. Civ. P. 37(b)(2)(C), 37(e)(1), and this Court’s

 inherent power.




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 Dated: June 16, 2023




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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

  ROBERT JULIAN-BORCHAK
  WILLIAMS,
                                               Case No. 21-cv-10827
        Plaintiff,                             Honorable Laurie J. Michelson

  v.

  CITY OF DETROIT, a municipal
  corporation, DETROIT POLICE CHIEF
  JAMES WHITE, in his official capacity,
  and DETECTIVE DONALD BUSSA, in
  his individual capacity,

        Defendant(s).


                        BRIEF FORMAT CERTIFICATION FORM

 I, Michael J. Steinberg, hereby certify that the foregoing brief complies with
 Eastern District of Michigan Local Rules 5.1(a), 5.1.1, and 7.1 and Judge
 Michelson’s Case Management Requirements. In particular, I certify that each of
 the following is true (click or check box to indicate compliance):
       ☒ the brief contains a statement regarding concurrence, see LR 7.1(a);
       ☒ the brief, including footnotes, uses 14-point font, see LR 5.1(a)(3);
       ☒ the brief contains minimal footnotes and, in all events, no more than 10,
        see Case Management Requirements § III.A;
       ☒ the brief and all exhibits are searchable .pdfs, see Case Management
        Requirements § III.A;
       ☒ the brief is double spaced (except for footnotes and necessary block
        quotes) with one-inch margins, see LR 5.1(a)(2);
       ☒ deposition transcripts have been produced in their entirety and not in
        minuscript, see Case Management Requirements § III.A;


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       ☒ if the brief and exhibits total 50 pages or more, a courtesy copy with ECF
        headers will be sent to chambers, see Case Management Requirements
        § III.B.
 I also acknowledge that if the Court later finds that these requirements are not met,
 my brief will be stricken.


                                               /s/ Michael J. Steinberg
                                               Michael J. Steinberg
                                               Dated: June 16, 2023




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